                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:14-00101
                                                 )          JUDGE CAMPBELL
BRYAN PUCKETT                                    )
AMIR BABAK BANYAN                                )
     a/k/a Bobby Banyan                          )

                                MEMORANDUM AND ORDER

                                          I. Introduction

       Pending before the Court are the Defendants’ Motions For Judgment Of Acquittal

(Docket Nos. 149, 150, 151) and the Government’s Response (Docket No. 152) in opposition.

The Court heard oral argument on the Motions on July 6, 2016. For the reasons set forth herein,

the Motions are DENIED.

                             II. Factual and Procedural Background

       In this case, which was originally assigned to Judge Aleta A. Trauger, the Defendants

were charged, along with April Gardner and Andrew Hoffman, with conspiracy to commit bank

fraud, in violation of 18 U.S.C. § 1349 (Count One), and various substantive counts of bank

fraud, in violation of 18 U.S.C. § 1344 (Counts Two through Six). (Docket No. 1). Prior to trial,

Defendant Hoffman pled guilty, and awaits sentencing before Judge Trauger. (Docket Nos. 85,

159, 166). Following a jury trial, Defendant Gardner was acquitted of all charges against her

(Docket No. 137); Defendant Puckett was convicted of Counts One, Two and Three, and

acquitted of Counts Four and Six (Docket No. 131); and Defendant Banyan was convicted of

Counts One, Three and Six, and acquitted of Counts Four and Five. (Docket No. 133). Judge

Trauger recused herself after trial, and the case was subsequently transferred to the undersigned



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Judge. (Docket Nos 158, 159).

       Through the pending motions, the Defendants advance an argument they made to Judge

Trauger during the trial. Specifically, the Defendants contend that the allegations of the

Indictment and the proof at trial establish only that they defrauded Sun Trust Mortgage, Inc.

(Counts One, Two through Five) and/or Fifth Third Mortgage Company (Counts One, Six), and

that these entities are not financial institutions for purposes of Section 1344 (the bank fraud

statute). Section 1344 provides as follows:

       Whoever knowingly executes, or attempts to execute, a scheme or artifice--

               (1) to defraud a financial institution;1 or

               (2) to obtain any of the moneys, funds, credits, assets, securities, or
               other property owned by, or under the custody or control of, a
               financial institution, by means of false or fraudulent pretenses,
               representations, or promises;

       shall be fined not more than $1,000,000 or imprisoned not more than 30 years, or
       both.

Judge Trauger denied the Defendants’ request to dismiss the charges on that basis during the

trial. (Docket No. 144, at 255-295; Docket No. 145, at 10).

       At the trial, the Government admitted the following stipulations of the parties:

               Parties also stipulate that during all times alleged in the indictment in this
       case the accounts of SunTrust Bank were insured by the Federal Deposit
       Insurance Corporation, and that during all times alleged in the indictment in this
       case the accounts of the Fifth Third Bank were insured by the Federal Deposit
       Insurance Corporation.


       1
          The term “financial institution” is defined in 18 U.S.C. § 20. In 2009, after the events
charged in the Indictment in this case, Congress amended the definition of “financial institution”
in 18 U.S.C. § 20 to include mortgage lending businesses. See Fraud Enforcement and Recovery
Act of 2009, Pub. L. No. 111-21, § 2(a)(3).


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               And that during all times alleged in this indictment in this case, SunTrust
       Mortgage, Inc. was a wholly owned subsidiary of SunTrust Bank; and that during
       all times alleged in the indictment in this case Fifth Third Mortgage Company
       was a wholly owned subsidiary of Fifth Third Bank.

(Docket No. 144, at 253).

       Also during the trial, the Government called Elizabeth Godwin, a Senior Vice-President

of SunTrust Mortgage, who testified as follows regarding the relationship between SunTrust

Mortgage and SunTrust Bank:

       Q.     All right. The – how would you describe the relationship between SunTrust
              Mortgage Company and SunTrust the bank?

       A.     Wholly owned subsidiary of the bank.

       Q.     And how are the profits and losses of SunTrust Mortgage, how do they affect the
              profits and losses of SunTrust Bank?

       A.     If I lose money, the bank loses money. If I make money, the bank makes money.

(Docket No. 143, at 103).

       The Government also called William Bruce, a quality assurance analyst at Fifth Third

Bank, who testified as to the relationship between Fifth Third Mortgage Company and Fifth

Third Bank:

       Q.     And can you explain the relationship between Fifth Third Mortgage Company and
              Fifth Third Bank?

       A.     Fifth Third Mortgage Company is a soley (sic) owned subsidiary of Fifth Third
              Bank.

       Q.     And in what way, if any, do the profits and losses of Fifth Third Mortgage
              Company affect the profits and losses of Fifth Third Bank?

       A.     Any losses incurred by Fifth Third Mortgage Companies, losses or profits, flow
              directly up through the bank, Fifth Third Bank Corp.

(Docket No. 143, at 74-75).

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       Prior to submission of the case to the jury, Judge Trauger fashioned the questions on the

verdict form for the substantive bank fraud counts to reflect the two clauses of Section 1344, as

follows:

         With respect to the charge in Count ___ of the Indictment (Bank Fraud) as to
       the first clause of the bank fraud statute (scheme to defraud a financial
       institution), we find as follows:

                              Guilty                        Not Guilty

       The defendant is:      ______                        ______

         With respect to the charge in Count ___ of the Indictment (Bank Fraud) as to
       the second clause of the bank fraud statute (scheme to obtain money or property
       owned by or in the control of a financial institution by means of materially false
       or fraudulent pretenses, representations or promises), we find as follows:


                              Guilty                        Not Guilty

       The defendant is:      ______                        ______


(Docket Nos. 131, 133). The language of the verdict forms implemented the instructions to the

jury regarding the elements required for each clause. (Docket No. 128, at 16-18). With respect

to Defendant Puckett, the jury checked both clauses of Count Two and the second clause of

Count Three. (Docket No. 131). As for Defendant Banyan, the jury checked both clauses of

Counts Three and Six. (Docket No. 133).

                                          III. Analysis

       In reviewing a motion for a judgment of acquittal under Rule 29(c) of the Federal Rules

of Criminal Procedure, a court must view the evidence in the light most favorable to the

government, and determine whether any rational trier of fact could have found the essential

elements of the crime beyond a reasonable doubt. United States v. Welch, 97 F.3d 142, 148 (6th

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Cir. 1996); Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979). The

court may not independently weigh the evidence, nor judge the credibility of the witnesses who

testified at trial. Id.

         The Defendants contend that they are entitled to an acquittal on the substantive bank

fraud charges, as well as the conspiracy charge, because no rational trier of fact could have found

that they intended to defraud a financial institution under Section 1344(1), or that they obtained

property owned by, or under the custody or control of a financial institution by means of false or

fraudulent pretenses, representations, or promises under Section 1344(2). Because the Court

concludes that the Defendants are not entitled to an acquittal of their convictions based on

Section 1344(2), it is unnecessary to address their argument regarding Section 1344(1) or the

conspiracy charge.2

         Relying primarily on United States v. Bennett, 621 F.3d 1131 (9th Cir. 2010), the

Defendants argue that obtaining money or property from a wholly-owned subsidiary of a

financial institution through fraudulent representations is not sufficient to establish that they

obtained money or property “owned by, or under the custody or control of a financial

institution.” In Bennett, the defendant was convicted of fraudulently procuring mortgages from

Equicredit Corporation, a wholly-owned subsidiary of Bank of America. 621 F.3d at 1133-34. It

was undisputed by the parties that Bank of America was a “financial institution” under the bank

fraud statute, but that Equicredit was not. Id., at 1134. Furthermore, the government relied solely

on Section 1344(2) to support the convictions, arguing, as a matter of law, that a parent



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          The Defendants contend that they are entitled to an acquittal of the conspiracy
conviction for the same reasons they are entitled to acquittal on the Section 1344(2) charges.

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corporation “owns” the assets of its wholly-owned subsidiary. Id., at 1136. The government did

not argue that the fraudulently obtained funds were under the “custody or control” of Bank of

America. Id., at 1136 n. 1.

       In rejecting the government’s argument, the Bennett court relied on “[m]ore than a

century of corporate law” in concluding that the owner of the shares of stock in a company is not

the owner of the corporation’s property. Id., at 1136. The court pointed out that in the corporate

law context, a debtor of a parent company could not seize the assets of a wholly-owned

subsidiary because the parent did not “own” those assets. Id. The court was unconcerned about

the use of corporate law principles to interpret a federal criminal fraud statute. Id., at 1137.

       In reaching its decision, the court rejected the reasoning of the Fifth Circuit in United

States v. Cartwright, 632 F.2d 1290 (5th Cir. 1980), a case addressing the parameters of 18

U.S.C. § 657, which prohibits an officer of a federally insured lending institution from

misapplying funds that “belong to” the institution. The Cartwright court upheld the defendant’s

conviction even though the defendant misapplied funds as an officer of a wholly-owned

subsidiary of a federally-insured savings and loan. In reaching its decision, the court explained

that principles of corporate law do not necessarily apply in the criminal law context, and should

be “readily abandoned when used ‘to defeat public convenience, justify wrong, protect fraud, or

defend crime.’” 632 F.2d at 1292 (quoting Quinn v. Butz, 510 F.2d 743, 758 (D.C. Cir. 1975)).

Adopting the reasoning of a similar case, United States v. Kehoe, 573 F.2d 335 (5th Cir. 1978),

the court stated:

       . . . it is difficult to assail the argument that depleting the assets of a wholly-
       owned subsidiary reduces the value of the subsidiary’s stock and thus directly
       diminishes the assets of the parent. We therefore conclude that the funds of a
       wholly-owned subsidiary ‘belong to’ the parent within the meaning of 18 U.S.C.

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        § 657.

(Id.) Cf. United States v. White, 882 F.2d 250 (7th Cir. 1989)(False statements made to leasing

corporation, a wholly-owned subsidiary of bank, were not shown to have “influenced” parent

bank within the meaning of 18 U.S.C. § 1014; noting, however, that a wholly-owned subsidiary

is “by definition, wholly owned by its parent, so it is natural to attribute its assets to the parent”

for purposes of 18 U.S.C. § 657.)

        More recently, the District of Columbia Circuit Court, in United States v. Hall, 613 F.3d

249 (D.C. Cir. 2010), held that sufficient evidence supported the defendant’s bank fraud

convictions involving Guaranty Residential Lending (“GRL”), a wholly-owned subsidiary of a

bank, and National City Mortgage Company (“NCM”), an operating subsidiary of a bank. In

reaching its decision, the court explained:

        The easier case for us is that of GRL: being wholly owned by federally insured
        Guaranty Bank, a loss to GRL would constitute a loss to Guaranty Bank. See
        United States v. White, 882 F.2d 250, 253 (7th Cir.1989) (‘A wholly owned
        subsidiary is, by definition, wholly owned by its parent, so it is natural to attribute
        its assets to the parent.’). A somewhat more difficult situation arises with respect
        to NCM, described at trial only as an operating subsidiary of federally insured
        National City Bank of Indiana. However, even though NCM was not, like GRL,
        described as a wholly owned subsidiary, its status as an operating subsidiary
        implies at least a majority or controlling interest held by National City Bank of
        Indiana, and consequently a loss to NCM would constitute a loss to federally
        insured National City Bank of Indiana.

613 F.3d at 252. See also United States v. Moore, 75 F.Supp.3d 568, 573-74 (D.D.C. 2014)(For

purposes of Section 1344(2), the defendant obtained money “owned by, or under the custody or

control” of federally-insured banks by defrauding their wholly-owned subsidiaries because “it is

natural to attribute a subsidiary’s assets to the parent, such that the loss to the wholly-owned

subsidiary would constitute a loss to the parent.”).


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       This Court is persuaded by the reasoning of the decisions set forth above that, for

purposes of Section 1344(2), the property of a wholly-owned subsidiary is property owned, or

under the custody or control, of the parent bank. The Court is not persuaded by the Bennett

court’s use of corporate law concepts to determine the parameters of the criminal bank fraud

statute. Indeed, the Supreme Court has suggested that civil law concepts are not to be used to

narrow the scope of the statute:

       As a last-gasp argument, Loughrin briefly asserts that § 1344(2) at least requires
       the Government to prove that the defendant's scheme created a risk of financial
       loss to the bank. See Brief for Petitioner 36-40. But once again, nothing like that
       element appears in the clause's text. Indeed, the broad language in § 1344(2)
       describing the property at issue – ‘property owned by or under the custody or
       control of’ a bank – appears calculated to avoid entangling courts in technical
       issues of banking law about whether the financial institution or, alternatively, a
       depositor would suffer the loss from a successful fraud. See United States v.
       Nkansah, 699 F.3d 743, 754 (C.A.2 2012) (Lynch, J., concurring in part and
       concurring in judgment in part). And Loughrin's argument fits poorly with our
       prior holding that the gravamen of § 1344 is the ‘scheme,’ rather than ‘the
       completed fraud,’ and that the offense therefore does not require ‘damage’ or
       ‘reliance.’ Neder v. United States, 527 U.S. 1, 25, 119 S.Ct. 1827, 144 L.Ed.2d 35
       (1999); see supra, at 2393-2394.

Loughrin v United States, 134 S.Ct. 2384, 2395 n. 9 (2014)(emphasis added).

       In any event, the decision in Bennett is distinguishable in that the government in that case

did not rely on the “custody or control” language of Section 1344(2). In this case, by contrast,

the Government relies on all three concepts: ownership, custody and control. Furthermore,

unlike a typical shareholder, which was the focus of the Bennett court’s reasoning,3 the witnesses


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           According to the Bennett court:

                As early as 1926, the Supreme Court recognized that ‘[t]he owner
                of the shares of stock in a company is not the owner of the
                corporation’s property.’ R.I. Hosp. Trust Co. v. Coughton, 270
                U.S. 69, 81, 46 S.Ct. 256, 70 L.Ed.2d 475 (1926). While the

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in this case testified that the mortgage companies’ profits and losses flowed directly to their

parent banks. There was no such testimony in the Bennett case.

        In a Notice Of New Authority (Docket No. 168), Defendant Banyan argues that a

decision issued by the Second Circuit Court of Appeals on July 7, 2016, United States v.

Michael Bouchard, ___ F.3d ___ , 2016 WL 3632591 (2nd Cir. July 7, 2016) further supports his

position. In Bouchard, the court reversed the defendant’s convictions for bank fraud and making

a false statement to a financial institution, and upheld his conviction for conspiracy to file false

statements with a financial institution. With regard to Section 1344(2), the Bouchard court held

that proof that the defendant intended to obtain the property of a wholly-owned subsidiary of a

financial institution did not establish that the defendant intended to obtain property owned by or

under the custody or control of a financial institution. Id., at *6-7. In reaching its decision, the

court explained the type of proof that the government should have adduced to support the

convictions:

        Of course, the Government might have been able to prove that Bouchard knew
        that money from mortgage lenders came from banks by virtue of his knowledge
        of the industry. But it failed to make this argument or proffer evidence of
        Bouchard's extensive knowledge of the real estate and mortgage lending industry
        as a reason to convict him at trial.

Id., at *7.

        Unlike the Bouchard case, the Defendants in this case cannot rely on a similar lack of



               shareholder has a right to share in corporate dividends, ‘he does
               not own the corporate property.’ Id.

621 F.3d at 1136.




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proof of intent. Indeed, Defendant Puckett wrote mortgage payment checks for loans issued by

SunTrust Mortgage to “SunTrust Bank” as payee. (Government Trial Exhibits 2K, 3P, and 3Q).

As for Defendant Banyan, he had been employed as a branch mortgage manager by SunTrust

Mortgage a year or so prior to issuance of the loans at issue. (Docket No. 143, at 103-04; Docket

No. 145, at 199-200). Furthermore, the names of the wholly-owned subsidiaries at issue here

were substantially similar to their parent financial institutions. It was reasonable to infer,

therefore, that the Defendants were aware that the fraudulently obtained funds were owned, or

were under the custody or control of the parent financial institutions.

       For these reasons, the Court concludes that there was sufficient evidence adduced at trial

to support the Defendants’ substantive bank fraud convictions under Section 1344(2), and their

conspiracy conviction. To the extent the Defendants have raised other challenges to their

convictions, the Court finds their arguments unpersuasive.

       It is so ORDERED.



                                                       _________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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